4:09-cr-03069-RGK-CRZ       Doc # 231   Filed: 02/08/12   Page 1 of 1 - Page ID # 1195




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:09CR3069
                                         )
              v.                         )
                                         )
KELVIN L. STINSON,                       )      MEMORANDUM AND ORDER
                                         )
                    Defendant.           )
                                         )


       The defendant seeks a reduction in his sentence because of the retroactive
changes to the “crack” Guidelines. His motion will be denied. In 2010, I found that
Stinson was responsible for more than 310 grams of crack but less than 500 grams of
that substance. (Filing no. 138.) Stinson’s base offense level was set at level 32.
(Filing no. 150 at ¶ 26.) That is the same base offense level that would result from
application of the amendments. Stated another way, since Stinson was involved with
more than 280 grams of “crack,” the amendments provide Stinson with no grounds
for relief.


       IT IS ORDERED that the motion to reduce sentence under 2011 crack cocaine
guideline amendment (filing no. 228) is denied.


       DATED this 8 th day of February, 2012.


                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
